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       AO 91 (Rev. 11/1 ]) Criminal Complaint


                                                    UNITED STATES DISTRICT COURT
                                                                              for the
                                                                  Central District of California

                         United States of America                                                                F~.-u•
                                                                                               CLERf'. . ~!..               ~:~~URT
                                              V.
                                                                                         Cas No
                 KEITH LAWRENCE MIDDLEBROOK
                                                                                 ~                      MA~i 2,~ 2020
                                                                                 J            CENTr~AL DiSi~ 'T Or= C        •.F          O 1 ~.      ~ 1
                                                                                              BY
                                         Defendants)


                                                              CRIMINAL COMPLAINT
                I,the complainant in this case, state that the following is true to the best of my knowledge and belief.
       On or about the dates) of                   March 13 through March 24, 2020      in the county of                  Los Angeles        in the
         Central District           District of            California       ,the defendants) violated:

                     Code Section                                                          Offense Description
       18 U.S.C.§ 1349                                       ATTEMPTED FRAUD BY WIRE, RADIO, AND TELEVISION




                This criminal complaint is based on these facts:

       SEE ATTACHED AFFIDAVIT.




                ~ Continued on the attached sheet.

               ~`.
               N            _~
                        .. ~".                                                                                  Complainant's signature
                                  i •~
                                   _a
'~~            ~            .~-
.._J            °—                        1                                                                     Madison MacDonald
{.~             ~        Y __                                                                                   Printed name and title

  =1 Sworn to         for~ me,:and ~igned in my presence.


       Date:          ~~ ~~~-~
                                                             P ~--
                                                                                                                  Ju ge' signature

       City and state:        ~.Y                                                                      Honorable John E. McDermctt
                                                                                        ~~'                     Printed name and title
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                               9~ LILITT 9~ ~1T T




      I, Madison MacDonald, having been duly sworn, hereby

declare as follows:

      I.     INTRODUCTION

      1.     I am a Special Agent with the Federal Bureau of

Investigation (FBI) and have been so employed since March 2018.

I am currently assigned a Los Angeles Field Division, White

Collar Crimes Squad, which is responsible for investigating

financial institution fraud, including bank fraud and wire

fraud. Since joining the FBI in 2018, I have received 22 weeks

of formal training at the FBI Training Academy in Quantico,

Virginia. Prior to being employed by the FBI, I served as a

Special Agent with the Arizona Attorney General's Office

for four years, where I was assigned to the Major Fraud Unit and

was responsible for conducting and participating in numerous

investigations of fraudulent schemes and artifices, thefts, and

forgeries.

     II.   PURPOSE OF AFFIDAVIT

     2.    This affidavit is made in support of an application

for an arrest warrant and a criminal complaint against Keith

Lawrence Middlebrook (Year of Birth: 1967; Social Security No.

XXX-XX-1638)(hereinafter ~~MIDDLEBROOK") for a violation of Title

18, United States Code, Section 1349 (attempted wire fraud).

     3.    The facts and information contained in this affidavit

are based upon my personal knowledge, training, and experience;

information I obtained from other federal law enforcement

officers and investigative personnel; and information I obtained

                                      1
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from reports of interviews and surveillance, analysis of such

reports, and other investigative intelligence.        All observations

that were not made by me were relayed to me by the person who

made such observations or who obtained or analyzed such

information. Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

     II2. SZJMMARY OF INVESTIGATION

     4.    Based on my investigation as described more fully

below, there is probable cause to believe that MIDDLEBROOK is

engaging in a scheme to defraud victim-investors by falsely

promising enormous returns on the monetary investments he is

soliciting in his company, Quantum Prevention CV Inc.

(hereinafter `~QP20"), which MIDDLEBROOK falsely claims has

developed a patent-pending cure for the COVID-19 virus and a

treatment that prevents a person from being infected by the

COVID-19 virus.    MIDDLEBROOK is promoting his ~~cure" and his

preventative treatment on the Internet and communicating with

potential victim-investors through interstate e-mails.

     5.    In furtherance of his fraudulent scheme, MIDDLEBROOK

posted a series of videos and written statements on his

Instagram page, in which he represented that he had developed a

liquid that, when injected, would cure an individual who had

contracted the COVID-19 virus within 24 hours.       In addition, the

posts on MIDDLEBROOK's Instagram page assert that MIDDLEBROOK

has developed a pill that, when ingested, will prevent an




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individual from contracting the COVID-19 virus.        MIDDLEBROOK has

made similar statements on videos posted to YouTube.

      6.     MIDDLEBROOK solicits investors to provide substantial

funds for working capital for his corporation, QP20, a non-

existent entity that MIDDLEBROOK falsely claims is incorporated

in Nevada, and which MIDDLEBROOK promises will be used to mass

produce and market the pill he claims will prevent an individual

from contracting COVID-19.     COVID-19, or coronavirus disease

2019, is a respiratory illness currently spreading through

person-to-person contact throughout the world.        MIDDLEBROOK

provided potential investors wiring instructions to enable the

investors to wire funds to MIDDLEBROOK's Bank of America and

JPMorgan Chase accounts located in Los Angeles, California, and

promised that, upon receipt of wired investment funds into his

bank accounts, he would immediately issue shares in both QP20

and in another alleged corporation, Quantum Cure CV 2020 Inc.

("QC20"), which MIDDLEBROOK claimed had developed a patent-

pending injectable serum that would ~~cure" those who had already

contracted COVID-19 within 48 to 72 hours after injection.

     IV.     STATEN~NT OF PROBABLE CAUSE

           A.     BACKGROUND

     7.      I have reviewed California Department of Motor

Vehicles (~~DMV") records relevant to MIDDLEBROOK and learned the

following:

             a.   I have seen the picture associated with

MIDDLEBROOK's driver's license and am thus familiar with his

appearance.


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             b.   MIDDLEBROOK uses a residential address on

Wilshire Boulevard in the Westwood neighborhood of Los Angeles,

and, as of March 5, 2020, a mailing address of 1048 Irvine

Avenue, #1062, Newport Beach, California 92660, and an

additional mailing address on Wilshire Boulevard in Santa

Monica, California.     I have checked open-source information and

confirmed that the Newport Beach address is a UPS Store.

      8.     I have reviewed wireless subscriber information from

AT&T regarding an account held by MIDDLEBROOK, which was opened

on or around July 23, 2018.     The phone number associated with

MIDDLEBROOK's account is (858) 275-4488 (the "4488 number").

The address associated with MIDDLEBROOK's wireless account with

AT&T is the Newport Beach address, above. The home email address

associated with MIDDLEBROOK's account is fico911@gmail.com.

     9.      I have reviewed MIDDLEBROOK's Instagram page and

records from Facebook regarding said page and learned the

following:

             a.   MIDDLEBROOK is the subscriber for the page that

can be accessed at

https://www.instagram.com/keithmiddlebrook/?hl=en

(~~MIDDLEBROOK's Instagram page")      According to subscriber

records which I reviewed, MIDDLEBROOK's Instagram account was

created on July 8, 2013.     The verified phone number associated

with MIDDLEBEROOK's Instagram account is the 4488 Number. The

registered email address is keithactor@gmail.com.

           b.     MIDDLEBROOK's Instagram page displays numerous

photos and videos.     I have reviewed the photos and videos on the
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Instagram page and determined that the person who appears in

these photos and videos is the same person who is depicted in

MIDDLEBROOK's DMV photo.

           c.    On or before March 24, 2020, MIDDLEBROOK

described himself on his Instagram page as `Real Iron Man,

Genius Entrepreneur Icon, Cleaner to the Pros, Speaker, 800

Scores Business Real Estate, Actor Writer Producer Reverse Aging

Technology."    On or around March 24, 2020, MIDDLEBROOK's

description on his Instagram page read as follows:        "Real Iron

Man, Genius Entrepreneur, Inventor: COVIDI9 Immunity &

Coronavirus Cure, Speaker, 800 Scores Business Real Estate,

Actor, Reverse Aging Inc." [emphasis added].

           d.    As of March 24, 2020, MIDDLEBROOK had

approximately 2.4 million followers of his Instagram page.

           e.    MIDDLEBROOK's Instagram page contains a link to

the website ~~keithmiddlebrookprosports.com" that displays

numerous photos.    I have viewed the photos on this website and

determined that the person who appears in these photos is the

same as the person depicted in MIDDLEBROOK's DMV photo. In the

"Contact" section of the website, one email address listed for

~~directly" contacting MIDDLEBROOK is ~~KMProsports@gmail.com."

     10.   MIDDLEBROOK maintains at least three Gmail email

accounts with Google relevant to this investigation.

           a.   I have reviewed subscriber information regarding

MIDDLEBROOK's first Gmail email, fico911@gmail.com.        This Gmail

email account was created on September 3, 2007.       The account's

recovery email was listed as keithmiddlebrookbrand@gmail.com and


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the recovery Short Message Service ("SMS") the 4488 Number.

According to Google records, this email address was last logged

into on March 19, 2020.

            b.   I have reviewed subscriber information regarding

MIDDLEBROOK's second Gmail email account kmprosports@gmail.com

This Gmail email account was created on November 7, 2017.         The

account's recovery email was listed as fico911@gmail.com, and

the recovery SMS was the 4488 Number.

            c.   I have reviewed subscriber information regarding

MIDDLEBROOK's third Gmail email account, gcc20@gmail.com.         This

Gmail email account was created on March 19, 2020.        The

account's recovery email was listed fico911@gmail.com, and the

recovery SMS was the 4488 Number.

            d.   Based on my investigation, I know that emails

sent via Gmail travel by wire transmission via locations outside

of California.

      11,   MIDDLEBROOK has an account with YouTube that enables

him to maintain a channel and upload videos to the Internet.

The channel can be accessed at:

http://www.youtube.com/channel/UCdv-BxfNfaRPAisgSSIhXOA. I have

reviewed the subscriber information regarding MIDDLEBROOK's

YouTube account and learned that MIDDLEBROOK created the account

on November 7, 2017, and the email listed when the account was

created was kmprosports@gmail.com.

            B.   ORIGIN OF INVESTIGATION

     12.    On or about March 13, 2020, San Diego FBI Special

Agent Raymond Pitesky received information from a cooperating


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witness (CW-1), who resides in Orlando, Florida, regarding

MIDDLEBROOK. CW-1 provided information about MIDDLEBROOK to the

FBI in connection with a separate investigation and prosecution

of MIDDLEBROOK in the Southern District of California, United

States of America v. Keith Middlebrook, Case No. 14-CR-2950-H.

(This case was dismissed without prejudice based on a Speedy

Trial Act violation and not refiled.)1

      13.   According to Special Agent Pitesky, CW-1 reported that

MIDDLEBROOK was soliciting investments to fund the mass

production of a vaccination that could cure COVID-19. According

to CW-1, MIDDLEBROOK offered CW-1 a percentage or finder's fee

for any investors he referred to MIDDLEBROOK. CW-1 provided

Special Agent Pitesky with the 4488 Number which he identified

as MIDDLEBROOK's telephone number.

            C.   MIDDLEBROOK'S SOLICITATIONS AND ADVERTISEMENTS OF
                 A PURPORTED COVID-19 PREVENTION AND CURE ON
                 INSTAGRAM AND YOUTUBE

     14.    Based on my investigation, I know that MIDDLEBROOK has

made multiple statements, both in writing and in posted videos

on his Instagram and YouTube pages, touting his purported



1 In 2006, CW-1 was indicted on charges of violating 18 U.S.C. ~~
371 (conspiracy), 1343 and 1349 (wire fraud and attempted wire
fraud), and 15 U.S.C. ~ 78j(b) and ff (securities fraud), in the
United States District Court for the District of Columbia,
arising from a telemarketing and securities fraud matter. CW-1
pleaded guilty to violations of 18 U.S.C. ~§ 371 and 1343, and
was sentenced to 60 months' probation including 8 months in a
halfway house. In addition, CW-1 has informed Special Agent
Pitesky that he was arrested in Florida in June 2019 on state
charges of impersonating an attorney but that he believes the
district attorney who filed these charges did so improperly. As
of the filing of this affidavit, I have not been able to verify
CW-1's statements or establish the status of any such
proceedings.

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injectable cure and prevention pills for COVID-19.        MIDDLEBROOK

has also made statements to two individuals to the same effect,

both over the telephone and in writing via emails.

           a.    On March 13, 2020, MIDDLEBROOK posted a video

titled "Keith Middlebrook on the truth about the Media,

CoronaVirus and Secrets of Success" on his YouTube channel,

which can be viewed at

https://www.youtube.com/watch?v=wjo H KTMFI.

                 i.    As of March 23, 2020, according to the page,

MIDDLEBROOK's YouTube channel had 13,600 subscribers, and the

video had been viewed 6,212 times.

                 ii.   In addition, the following statement appears

below the video:

      Keith Middlebrook aka The Real Iron Man breaks down
      the truth about the CoronaVirus and Secrets to
      Success. The Mainstream Media FEAR (False
      Entertainment Appearing Real) will use FEAR to Destroy
      a Great Economy, People, Families and Businesses.
     FACT: There is 1 Centillionth (.00000000001) of a
     chance of the Average person in America getting and
     d ying of the CoronaVirus. * Minerals, Protein and
     Alkaline Water are the Super Secret to having and
     maintaining Incredible Health. * This Video will be
     Reshot, Keith has the Vaccine to the cure the
     CoronaVirus not Trump. Donald Trump will be signing
     the Accelerated Public Release of Keith's cure and
     Prevention. Much More to come, stay tuned. * Follow
     Instagram @KeithMiddlebrook
     KeithMiddlebrookProSports.com * Follow YouTube / Keith
     Middlebrook * Follow Twitter @4kmiddlebrookl Keith
     Middlebrook aka The Real Iron Man Keith Middlebrook
     Net Worth 2020 $30 Million Keith Middlebrook
     Enterprise Net Worth 2020 $1 Billion

           b.    On March 16, 2020, at approximately 1:30 p.m.,

Special Agent Pitesky and I contacted CW-1 telephonically to

discuss the investment solicitation MIDDLEBROOK made to CW-l.
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                  i.    CW-1 provided Special Agent Pitesky with

 numerous screenshots of text messages between himself and

 MIDDLEBROOK relating to both credit repair and MIDDLEBROOK's

 purported COVID-19 cure, which I viewed.       Regarding COVID-19, on

 or around March 16, 2020, MIDDLEBROOK sent CW-1 a text

 containing a video, which showed a tackle box full of vials and

 syringes. On this video, MIDDLEBROOK can be heard discussing his

 cure for COVID-19.

                  ii.   After the initial text, on or around March

 16, 2020, MIDDLEBROOK sent additional text messages to CW-1 from

 the 4488 number that stated:

       I have Developed the Cure for the CoronaVirus COVID-19

       *LA Patient tested Positive for CoronaVirus got up and
       walked out 51 hours after my Injection

       Blood Pressure Normal

       Temperature Normal

      Heart Rate Normal

      Enzymes Normal

      Sugar Levels Normal

      CoronaVirus Negative

      Investors who come in at ground level say $1M will
      parachute with $200M - $300M

      Conservative Minimum

      Plus retain Stock Shares

      You Receive 25o Commission on ALL Funds you bring in
      plus Stock Shares for the IPO
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                   iii. The last text CW-1 received from MIDDLEBROOK

 was a photo of former NBA player, Earvin "Magic" Johnson, and a

 statement, ~~We got MAGIC JOHNSON coming aboard!! ! ! CALL ME !!"

              c.   On March 17, 2020, MIDDLEBROOK posted a video on

 his Instagram account, which can be viewed at:

 h ttps://www.instagram.com/tv/B90jig2ncED/?utm_source=ig_web_copy

  link

                   i.    Among other things, in the video,

 MIDDLEBROOK stated that he had created the cure for COVID-19.

 MIDDLEBROOK showed a syringe with a clear liquid and described

 how his cure worked.     Instagram stated that, as of March 24,

 2020, this video has been viewed 633,002 times.

                   ii.   The following text appeared associated with

 the video:

      Yes I have Developed the Cure for the CoronaVirus
      COVID-19.

      After 6 Weeks of Intense Focus and Development (and
      very little sleep). I am currently going into Mass
      Production. * NOTE: All Haters and Ignorant responses
      are Deleted and Blocked as fast as they post. Give
      your Negative Energy to someone who has the time to
      waste on your worthless, uneducated, low self esteem
      ass. I am to busy saving the world. * The CDC, WHO and
      Mainstream Media have created a Pandemonium
      environment. To answer this (just because it's what I
      do) I have created a CoronaVirus Prevention Pill"
      (After 3 Days of taking it the person is Immune to the
      Virus and STAYS immune as long as they continue taking
      it once a day it the morning) and also the COVID-19
      Formula Vaccine Cure to Satisfy the Physiological and
      Phycological Need at large. @realdonaldtrump
      @seanhannity * Much more to come, stay tuned! * Follow
      YouTube / Keith Middlebrook for awesome complete video
      episodes. Many New ones are up and many more coming
      everyday. * Follow Twitter @4kmiddlebrookl




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            d.    On March 17, 2020, at approximately 11:00 a.m.,

 Special Agent Pitesky, an undercover FBI agent (`DUCE") posing as

 an investor, and I contacted CW-1 to discuss an introduction to

 MIDDLEBROOK.

            e.    On March 18, 2020, at approximately 2:55 p.m., I

 conducted a three-way consensually recorded call between CW-1

 (who was in Orlando, Florida), the UCE, and MIDDLEBROOK, and

 used the 4488 number.

                  i.     On this call, MIDDLEBROOK solicited an

 investment from the UCE relating to a prevention pill and a

 serum formula-cure for COVID-19.

                  ii.    For an initial investment of $300,000,

 MIDDLEBROOK guaranteed a return of $30 million, which

 MIDDLEBROOK said, was secured by a current $10 billion offer

 from an unnamed buyer in Dubai. For example, MIDDLEBROOK stated

 for someone who put "in $1 million" would ~~be looking at a $100

 million" return.      MIDDLEBROOK stated that his injection

 serum/prevention pills would be worth "$100 billion" before an

 initial IPO offering.      MIDDLEBROOK said to the UCE "I'll

 guarantee you this...at least, you put in $300 grand, I'll

 guarantee you...I'll guarantee the value of your shares and

 stock...and you can do whatever you want...minimum $30

 million..." Additionally, MIDDLEBROOK stated that six

 individuals had already invested, including "Dr. Patterson" who

 had invested $1 million.

            f.   During the call, MIDDLEBROOK sent the UCE a text

 message that contained his Bank of America account information


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 and wiring instructions for the UCE to wire the money he would

 be investing, as follows:

       KM Legal Power, LLC - Account # [redacted]3866

       Business Address: 1048 Irvine Ave. #1062, Newport
       Beach, CA 92660

            g.    On March 19, 2020, at approximately 3:17 a.m.,

 MIDDLEBROOK sent an email from gccv20@gmail.com to the UCE's

 Yahoo email account, with an attachment that outlined the

 investment, opportunity.    A PDF copy of the above-described

 document, which has been redacted to protect the identity of the

 UCE and . MIDDLEBR00K's bank account information, is attached

 hereto as Exhibit A and incorporated herein.

            h.    At approximately 3:31 a.m., MIDDLEBROOK sent the

 UCE a text message, stating:

       1 Sheet in your email

      Call Me

      Call me after wire sent

      Stock Share Docs to be prepared

      and FedEx to you today

      Conservative Projections:

      First Level of 4-6 Levels

      $400,000 splits to $4,000,000 plus

      2nd Level $4M splits to $40M

      And much more

            i.   At approximately 2:45 p.m., the UCE contacted

 MIDDLEBROOK telephonically for a follow-up recorded

 conversation, which I listened to without MIDDLEBROOK's



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 knowledge. MIDDLEBROOK indicated that, since last speaking with

 the UCE, seven individuals had invested with MIDDLEBROOK, with

 an average investment of $750,000 to $1 million. MIDDLEBROOK

 ended the call to talk to ~~Dr. Robert Goldman" and called the

 UCE back shortly thereafter. MIDDLEBROOK indicated that he would

 provide the UCE (and his mother) the prevention pills after he

 [MIDDLEBROOK] received an initial wired deposit of $9,999.

             j.    At approximately 5:52 p.m., MIDDLEBROOK texted

 the UCE an account name and number at JPMorgan Chase of

 `~MIDDLEBROOK Productions, LLC - Account #[redacted]7916" that

 the UCE should use to wire the funds to MIDDLEBROOK. MIDDLEBROOK

 then sent a text to the UCE that stated: ~~Shares & Docs are for

 $400k."

       15.   On March 21, 2020, MIDDLEBROOK posted a video on his

 Instagram page.    Instagram has stated that, as of March 24,

 2020, this video has been viewed 1,011,750 times.        The video can

 be viewed at:

 w ww.instagram.com/tv/B9-PxmAnsuS/?utm source=ig web copy link

             a.   On this video, MIDDLEBROOK shows a pill that he

 states prevents him from contracting COVID-19.       He states that

 if he took the pill and walked into the Staples Center filled

 with COVID-19 positive individuals, he could not contract the

 virus. Among other statements, MIDDLEBROOK claims that because

 of ingesting the pill, he is immune to COVID-19, as his cell

 membrane walls cannot contract the virus. MIDDLEBROOK states

 that he "just got off the phone with" Dr. Ronald Goldman,

 President Donald Trump's physician for sports and health


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 medicine, and that he (MIDDLEBROOK) is on his way to Mar-a-Lago

 to get the executive emergency order to override the FDA [i.e.,

 the U.S. Food and Drug Administration].       MIDDLEBROOK stated that

 the preventive pill, which he takes once a day, is called QP20

 and the injectable cure is called QC20.

            b.     In addition, the following comment appears posted

 with the video.

       Yes I have created the pill that makes you IMMUNE to
       COVID-19!

      I have created the Prevention Pi11 that is time
      released 24 Hours. This pill I have designed makes
      anyone completely IMMUNE to the Virus COVID-19 disease
      coronavirus. * NOTE: All Haters and Ignorant comments
      are Deleted and Blocked as Fast as they post. Give
      your incompetence and Negative Energy to someone who
      has time to waste with you and tolerate your worthless
      low self-esteem ass. * I am busy saving the world.
      The Medical, Virus and Disease communities are lazy
      and trying to use old tricks on a new dog. Like the
      measles vaccine to cure coronavirus, it won't work. I
      have the True, Tried and Tested Cure and now the
      Prevention. I had to wait for Lab Results to post
      this. * I created this Preventative IMMUNE Pill (QP20)
      Quantum Prevention CV 2020 as the Answer to the
      "Pandemonium / Havoc environment" created by the
      "Negative Sensationalism for viewership" by the
      Mainstream Media, CDC and WHO as they Needlessly have
      caused a complete US shut down based on 249 deaths in
      2 Months (all over the age of 80) and are attempting
      to completely destroy the Greatest economy in US
      History built by @realdonaldtrump. * Perception is
      Realty so I have developed the Prevention and the Cure
      to satisfy the physical and physiological Needs to
      save the World. * FACTS to REALIZE: US Deaths Year /
      Day: * Homicides 16,000 / 44 * Smoking 480,000 / 1,315
      * 2nd Hand Smoke 41,000 / 112

       * Flu (Average) 50,000 / 137

       * Alcohol 88,000 / 241 * Opioids 70,000 / 191
       Diabetes 4,200,000 / 11,506 * Car Accidents 38,000 /
       104 * Total Self Inflicted Deaths per Year 4,967,000
       Total Self Inflicted Deaths per Day 13,616 * Notice
       the Mainstream Media didn't shut down all Businesses
       for these Real Numbers and more. * Much more to come
       stay tuned. * Follow YouTube / Keith Middlebrook

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       Follow KeithMiddlebrookProSports.com * Follow Twitter
       @4kmiddlebrookl

       #KeithMiddlebrook

       #XcceleratedSuccess

       #COVIDI9

       #Coronavirus

            c.    In response to the above narrative description,

 an individual commented that "it should be tested on people."

 MIDDLEBROOK replied, ~~it was, 3 patients who were injected with

 m y formula tested Coronavirus NEGATIVE! I had to wait for the

 Test results before I could post the Video. Please learn to READ

 and listen to the [sic] All the Videos."

            d.    On March 22, 2020, MIDDLEBROOK posted a video on

 his Instagram page.     Instagram stated that, as of March 24,

 2020, this video had been viewed 449,396 times.        The video can

 be viewed at: https://www.instagram.com/tv/B-

 BPZGanfhr/?utm source=ig web copy link

                  i.    On this video, MIDDLEBROOK states that he

 created the cure for, and prevention of, COVID-19.

                  ii.   The following comment appears with the

 video.

      Secrets to Success from the Real Iron Man on
      Coronavirus.

       Powerful Video of Knowledge to Empower You. NOTE:
       Ignorant Hater Followers and unintelligent comments
       are being Deleted and Blocked as Fast as they Post.
       (Give your Follow, hate and negative energy to someone
       who has time to waste with you and tolerate your
       worthless, low self esteem ass). I am busy Saving the
       World. * Filmed at my Home / Office in Newport Beach
       California on March 21, 2020. FACT: The Mainstream
      .Media, CDC, and the WHO started creating Mass
       H ysteria, Havoc and Pandemonium when they claimed

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       "Pandemic" as Millions of People are dying in the
       streets when really total US Coronavirus deaths were
       at 38 (Al1 above the age of 80) and only 1,361 cases.
       *All Designed and meant to Destroy the Greatest
       Economy in US History built by @realdonaldtrump. I
       encourage you to NOT GO ALONG with ~~We are all in this
       together". Do NOT SUCCUMB to their negative
       destructive mindset, if you go along with it, then
       they got you where they want you. * Instead Focus on
       your Goals and your brand. I am teaching you to Plow
       through the Negativity and WIN. - Keith Middlebrook
       Much more to come stay tuned. * SPECIAL NOTE: I was
       wrongfully indicted by the Government in 2014 and I
       BEAT them and WON on September 13, 2016. Now I am
       Suing them for $1 Billion and I am Winning. (I know
       first hand more than anyone how Sick and Evil 1/2 of
       them can be). Follow YouTube / Keith Middlebrook
       Follow Twitter @4kmiddlebrookl @seanhannity
       #KeithMiddlebrook
       #XcceleratedSuccess
       #COVIDI9
       #coronavirus
       #Cure
       #Prevention

             D. HEALTH OFFICIALS' STATEMENTS RE: COVID-19
                PREVENTION AND CURE.

       16.    As of March 24, 2020, the World Health Organization

 stated on its website, which can be viewed at

 https://www.who.int/news-room/q-a-detail/q-a-coronaviruses, the

 following:

      To date, there is no vaccine and no specific antiviral
      medicine to prevent or treat COVID-2019. However,
      those affected should receive care to relieve
      symptoms. People with serious illness should be
      hospitalized. Most patients recover thanks to
      supportive care. Possible vaccines and some specific
      drug treatments are under investigation. They are
      being tested through clinical trials. WHO is
      coordinating efforts to develop vaccines and medicines
      to prevent and treat COVID-19.

       17.   As of March 24, 2020, the United States Centers for

 Disease Control stated on their website, which can be viewed at

 https://www.cdc.gov/coronavirus/2019-ncov/downloads/2019-ncov-



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 factsheet.pdf, that there is currently no vaccine to protect

 against COVID-19, and there is no specific antiviral treatment

 for COVID-19.

       18.    On February 25, 2020, the National Institutes of

 Health ("NIH"), the United States' national medical research

 agency and a component of the Department of Health and Human

 Services, announced that the National Institute of Allergy and

 Infectious Disease was the regulatory sponsor of the first

 clinical trial in the United States at the University of

 Nebraska Medical Center in Omaha, Nebraska.       In addition, the

 NIH stated there were no specific therapeutics approved by the

 Food and Drug Administration to treat people with COVID-19.

 Furthermore, the NIH stated that Remdesivir, developed by Gilead

 Sciences Inc., was the investigational broad-spectrum antiviral

 treatment that was being tested. The announcement stated the

 following:

      "We urgently need a safe and effective treatment for
      COVID-19. Although remdesivir has been administered
      to some patients with COVID-19, we do not have solid
      data to indicate it can improve clinical outcomes,"
      said NIAID Director and U.S. Coronavirus Task Force
      member Anthony S. Fauci, M.D. "A randomized, placebo-
      controlled trial is the gold standard for determining
      if an experimental treatment can benefit patients."

 The announcement can be viewed at:

 https://www.nih.gov/news-events/news-releases/nih-clinical-

 trial-remdesivir-treat-covid-l9-begins.

             E,   MIDDLEBROOK'S FALSE STATEMENTS IN FURTHERANCE OF
                  HIS FRAUDULENT INVESTMENT SCHEME!

      19.    In addition to stating on his videos and descriptions

 accompanying the videos that he has developed an injectable cure


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 and prevention pills for COVID-19, MIDDLEBROOK made several

 false statements in the "1 Sheet for company QP20 and QC20" (see

 Exhibit A) that MIDDLEBROOK emailed to the UCE on March 19,

 2020,

       20.   For example, MIDDLEBROOK falsely stated that QP20 and

 QC20, the injectable serum and prevention pills, are patent

 pending.

             a.   On March 23, 2020, I conducted several search

 queries for "Keith Middlebrook" using the United States Patent

 and Trademark Office's (USPTO) online database,

 http://patft.uspto.gov/netahtml/PTO/search-bool.html, to

 include, but not limited to~the following fields: Inventor,

 Applicant Name, Assignee Name and All Fields. These        queries

 revealed ~~No patents have matched your query". Similar searches

 included ~~Dustin T. Johnston", `~Earvin `Magic' Johnson" and

 "Roderic Boling" using Inventor search field, also did not yield

 any positive results. A search of "Dr. D. Patterson" as the

 Inventor yielded multiple results; however, additional personal

 identifying information would be needed to verify whether this

 inventor is the same as the person identified as "D. Patterson"

 in Exhibit A.    Lastly, searches using subject companies "Quantum

 Prevention CV Inc." and ~~KM Legal Power LLC" yielded negative

 results using the Assignee Name search field.

             b.   On March 24, 2020, an attorney in the Office of

 Policy and International Affairs of the United States Patent and

 Trademark Office confirmed that MIDDLEBROOK had not been awarded

 any patents/trademarks by said office. It should be noted,
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 however, that approved patents remain confidential for a minimum

 of 18 months before they are ultimately published on the USPTO

 website.

       21.   MIDDLEBROOK also falsely stated that, as of March 19,

 2020, Earvin "Magic" Johnson (`Johnson"), the former NBA

 basketball player, was a director and/or officer of QC20.         In

 addition, MIDDLEBROOK made false statements to CW-1 in a text

 message on March 16, 2020 that Johnson was "coming aboard."

             a.   On March 24, 2020, I contacted Christina Francis

 ("Francis"), President of Magic Johnson Enterprises, which is

 owned by Johnson.

             b.   Francis stated to me that she is responsible for

 handling financial matters on behalf of Johnson and advised me

 that Johnson was not involved in any investments related to

 COVID-19.

             c.   Immediately thereafter, according to Francis, she

 contacted Johnson and confirmed that Johnson had no involvement

 in any businesses or other investment opportunities being

 conducted by or offered by MIDDLEBROOK, and he had not been

 contacted by MIDDLEBROOK regarding making any investment.

 Moreover, Francis showed Johnson the DMV photograph of

 MIDDLEBROOK and Johnson stated to Francis that he had never met,

 spoken to, or seen this individual.

      22.    MIDDLEBROOK also falsely stated in the ~~l Sheet" that

 he sent to the UCE that QP20 was a Nevada Corporation, foreign

 filing in Florida.




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             a.   On March 24, 2020, I reviewed an email from the

 Chief Criminal Investigator of the Securities Division for the

 Secretary of State of Nevada, who searched the commercial

 recording database for MIDDLEBROOK, Quantum Prevention, and KM

 Legal Power, and did not locate any corporate filings for

 MIDDLEBROOK or said entities.

             b.   On March 23, 2020, I queried the online records

 for the Florida Division of Corporations, at search.sunbiz.org,

 for MIDDLEBROOK, Quantum Prevention, and KM Legal Power, and did

 not locate any corporate filings for MIDDLEBROOK or said

 entities.

      V.     CONCLUSION

      23.     For all the reasons described above, and based on my

 training, education, experience, and participation in this

 investigation, there is probable cause to believe that KEITH

 LAWRENCE MIDDLEBROOK violated Title 18, United States Code,

 Section 1349.




                                  MADIS     CDONALD
                                  Special Agent
                                  Federal Bureau of Investigations


      Subscribed to and sworn before

      me th~ 25th day of March, 2020.




         NCkABL~~yj~HN E. MCDERMOTT
         ITED STFTES MAGISTRATE JUDGE




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Yahoo Mail - 1 Sheet for company QP20 and QC20                                                                    3/19/20, 5:59 AM




      1 Sheet for company QP20 and QC20

      From: Keith Middlebrook (gccv20@gmail.com)
      To:                      C~yahoo.com
      Date: Thursday, March 19, 2020, 3:17 AM PDT



      USE OF PROCEEDS

      Proceeds from this Offering will be allocated to working capital of the Company "Quantum Prevention CV Inc."
     (QP20)and to pay for the purpose of mass producing and marketing the patent pending PREVENTION or
     "immunity" product Builds, Activates and Supports the Human Cells and the bodies immune system, which
      prevents the human from ever contracting COVID-19 (coronavirus) as long as continued consumption of QP20 Oral
     Product "as directed" is used.

     Proceeds from this Offering will be allocated to working capital of the Company "QC20" & "QC20" to pay for
     management team, production and distribution of said product.
     Those services include but not limited to: officers, legal, accounting auditing, marketing and product procurement
     and drop ship.

                                                                 BUSINESS

     Quantum Prevention CV Inc.(QP20) the "Company", a Nevada corporation, foreign filing in Florida and were
     incorporated in March 15, 2020 for the purposes of providing a prevention immunity pill to prevent contracting
     COVID-19 (coronavirus).

     The company's "HUB and Spoke" concept is to have a central "HUB" in Florida (and possibly additional states and
     counties tries outside the US as the company expands state wide, nation wide and world wide) that distributes
     worldwide Oral Product to fully build and support the humans immune system and creates the ability to fend off
     and deflect the viruse and disease COVID-19(coronavirus).

     This prevention, maintenance and health business will be be producing high quality products and shipping them to
     areas most effected as appointed by management.

    The "HUB" will sell to both wholesale market, retail vendor outlets and direct to consumers via the world wide web.
    (as directed with marketing and "price point" strategy by management to maintain continuity and consistency with
     world wide sales)

     The Company plans and will develop and market proprietary patent pending product in mass quantities to meet
     current and ongoing growing "demand".

     Prevention Product is fully effective as log as the human consumes the daily intake of 1 "time release" pill per day.
     Each individual pill works for 24 hours
     If the human stops consuming the daily product then they are susceptible to contracting the virus and disease.

     •     QP20 has developed a patent pending product that Builds, Activates and Supports symbiotic
     "Immunity" benefits deflecting the virus and disease COVID-19(coronavirus) Includes a financial scale
     to generate more Revenue and Profit as the "World Wide Pandemic" Supply &Demand grows more
     than the typical company in the preventative, maintenance and Health Industries.
     The divisions that will be symbiotically integrating potential to possibly include QP20 (products)
     Vending (distribution), and QP20 Online.


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                QP20: Product manufacturing including a full range of products from supplements to injections.

     •      QP20: Vending: International and national, that will have the capability to place orders to people
     in need to build and support their immune systems and prevent contracting COVID-19
    (CORONAVIRUS)
            Florida is first to serve as a wide distribution outlet for QP20 products and provide an attractive
     international distribution solution congruent with price point and marketing strategies, making available
     National & WorldWide business models.

      •     QP20 Online: Wholesaling and Retailing QP products as directed and approved by Management
      & Officers.

                QP20 Vending and QP20 Online provide Multiple and Unlimited types of Revenue Streams.

               Florida and additional National &World Wide Distribution outlets for QP20 branded items.

      •    Conventional &Individual Wholesale-Retail Revenue Models &Agreements,buying popular
      QP20 products wholesale and selling them Retail fora 50% or Higher Margin(No Limits)

     •     Revenue Sharing with Retailers or Manufactures where they provide the stock and QP20 is
     possible as approved by Management(via if there are partners) to distribute and sell the products,
     providing a mutually agreeable Revenue Split.

     •     Advertising, on all Social Media,Print, Stores, Shopping Malls, TV,Online Etc. Digitally or
     Poster Print Adds.(Marketing Campaign)

     •     (Potential) Licensing and franchising opportunities for independent entrepreneurs in markets
     outside QP20 regions.

                Includes all the above but "not limited to" as company expands and grows.

                                                            MANAGEMENT

      The following are the Directors and Officers of the Company Quantum Prevention CV Inc.(QC20)as of 3/19/20

      Name                                         Age                Position

     Keith Middlebrook                             52                 Inventor, Founder, Chief Executive Officer,
     President

     Dr D.Patterson PHD                            64                 P.H.D. Doctorate, Compliance Director of Health &
     Medicine

     Dustin T. Johnston                             53                Business Development

     Roderick Boling                               53                 Key Management Director, Executive officer

     Earvin "Magic" Johnson                        60                 TBD


     Executive Officers serve until the next annual meeting of stockholders and until their successors are duly elected


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      and qualified, unless earlier removed as provided in the Bylaws of the Company. Executive officers serve at the
      pleasure of the Company Quantum Prevention CV Inc.

                                              SECURITY OWNERSHIP OF CERTAIN
      QP20 & QC20 are in early beginning stages now:
      Company is for now: Private Equity, Private Placement Memorandum, Holding Company and Stock Shares for all
      Proceeds and Offerings.
      PPM Holdings Shares are Issued Immediately after Wire Deposit is Received.
      Company foresees 4-6 levels of share growth and eventual Record breaking IPO in several World Wide Markets.

                                                  BENEFICIAL OWNERS AND MANAGEMENT

      As of March 15, 2020 the Company has issued select COMMON SHARES of its Common Stock,(Par Value TBD).
      The following tabulates holdings of Common Stock of the Company by each person who holds of record or is
      known by management of the Company to own beneficially more than five percent(5%)of the Common Stock
      outstanding, and, in addition, by all Directors and Officers of the Company individually, and as a group as of the
      date of this Memorandum (prior to any of the Shares being offered hereunder having been sold).
      The shareholders TBD have sole voting and investment power, except as otherwise noted.


      I MPORTANT NOTICE: All the above Includes 100% of same shares for the patent pending "Quantum Cure CV 2020
      Inc."
      QC20 has Developed a Patent Pending Powerful Product that is the Cell Tissue Biological "Cure" for those that
      have already contracted the COVID-19 (coronavirus).
      QC20 company has Developed the Serum Formula Injection that shuts down and DESTROYS COVID-19
     (CORONAVIRUS)cells.
     The CORONAVIRUS cells Detach, Release and Die.
      Patients are cured in 48-72 Hours on Average after injection.

     * All language, share agreements, money and operations are the exact same as above for QC20 as is for QP20
       Proceeds and Offerings includes 100% financial potential as listed of BOTH companies at all times indefinitely.

     Keith Middlebrook
     Dr D. Patterson
     Dustin Johnson
     Roderick Boling

     Wire Instructions:
     Bank of America

     KM Legal Power LLC.

     Acct.               3866

     Wire Routing #026009593

     Business Address:
     1048 Irvine Ave #1062
     Newport Beach, CA 92660
     Phone 858-275-4488

     Bank Address
     9454 Wilshire Blvd
     Beverly Hills, CA 90211
     Phone 310-734-0321



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